Case 1:16-cv-22269-RNS Document 37 Entered on FLSD Docket 02/27/2018 Page 1 of HH
                                                                               3
                Case: 17-13411 Date Filed:
                                     (3 of 3)
                                           02/27/2018 Page: 1
                                                                                       Feb 27, 2018
                           UNITED STATES COURT OF APPEALS
                                                                                                    MIAMI
                              FOR THE ELEVENTH CIRCUIT
                                ELBERT PARR TUTTLE COURT OF APPEALS BUILDING
                                              56 Forsyth Street, N.W.
                                              Atlanta, Georgia 30303

  David J. Smith                                                                    For rules and forms visit
  Clerk of Court                                                                    www.ca11.uscourts.gov


                                           February 27, 2018

  Steven M. Larimore
  U.S. District Court
  400 N MIAMI AVE
  MIAMI, FL 33128-1810

  Appeal Number: 17-13411-C
  Case Style: Christian Pereira v. USA
  District Court Docket No: 1:16-cv-22269-RNS
  Secondary Case Number: 1:11-cr-20532-RNS-1

  LIMITED REMAND

  Enclosed is a copy of an order remanding the referenced appeal for further proceedings.
  JURISDICTION OF THIS APPEAL IS BEING RETAINED BY THE ELEVENTH CIRCUIT.

  This case will be held in abeyance and monitored in the Eleventh Circuit pending disposition of
  remand proceedings in your court.

  Sincerely,

  DAVID J. SMITH, Clerk of Court

  Reply to: Walter Pollard, C
  Phone #: (404) 335-6186

                                                             CLK-3 DC Letter with Ltd Remand order
Case 1:16-cv-22269-RNS Document 37 Entered on FLSD Docket 02/27/2018 Page 2 of 3
                Case: 17-13411 Date Filed:
                                     (1 of 3)
                                           02/27/2018 Page: 1 of 2


                        IN THE UNITED STATES COURT OF APPEALS

                                 FOR THE ELEVENTH CIRCUIT


                                          No. 17-13411-C


  CHRISTIAN PEREIRA,

                                                                               Petitioner-Appellant,

                                                versus

  UNITED STATES OF AMERICA,

                                                                              Respondent-Appellee.


                            Appeal from the United States District Court
                                for the Southern District of Florida


 Before: TJOFLAT and MARCUS, Circuit Judges.

  BY THE COURT:

        As amended by the Antiterrorism and Effective Death Penalty Act of 1996 ("AEDPA"),

 28 U.S.C. § 2253 provides that an appeal from a final order in a§ 2255 proceeding may not be

 taken without a certificate of appealability ("COA") certifying that ''the applicant has made a

 substantial showing of the denial of a constitutional right" and indicating "which specific issue or

 issues satisfy the showing required." This Court will not make the initial determination of

 whether to issue a COA, and the district court must rule first. Edwards v. United States, 114

 F.3d 1083, 1084 (11th Cir. 1997). Because the district court made no ruling with respect to a

 COA for Pereira to appeal the denial of his Rule 59(e) motion, this case is hereby REMANDED

 on a limited basis so that the court may consider whether a COA is appropriate for any of the
Case 1:16-cv-22269-RNS Document 37 Entered on FLSD Docket 02/27/2018 Page 3 of 3
                Case: 17-13411 Date Filed:
                                     (2 of 3)
                                           02/27/2018 Page: 2 of 2


 issues that Pereira seeks to raise on appeal. Should the district court determine that a COA

 should issue, it should so rule, setting forth the issues certified for appeal, per§ 2253.




                                                   2
